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Form O8D-113 Order of Dismissal
(Rev. 11 - 13)



                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )    CASE NO.: I :20MJ91 l l
                                                     )
                    Plaintiff,                       )
                                                     )
           V.                                        )    MAGISTRATE JUDGE WILLIAM H.
                                                     )    BAUGHMA , JR.
 QING WANG, A.K.A. KE                  ETH WANG,     )
                                                     )
                    Defendant.                       )
                                                     )

                                         ORDER FOR DISMISSAL

         Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court

endorsed hereon the United States Attorney for the       orthern District of Ohio hereby dismisses,




                                                   1f,,y~t~ lk.sW"
without prej udice, the Complaint against Qing Wang, a.k.a. Kenneth Wang, defendant.




                                                   __..
                                                     RJoGET M.
                                                       Acting United States Attorney

Leave of court is granted for the filing of the foregoing dismissal.




                                                         WILLIAM H. BAUGHMAN, JR.
                                                         United States Magistrate Judge

Date: _ _ _ _ __
